Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 1 of 33 PageID #: 100




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION

   ASCENTIUM CAPITAL LLC,                          *    CIVIL ACTION NO. 5:21-cv-00255

                  Plaintiff,                       *    JUDGE ELIZABETH E. FOOTE

   v.                                              *    MAGISTRATE MARK L. HORNSBY

                                                   *

   DIGITAL SIGN SOLUTIONS LLC and                  *
   ARVIN WADDLES,
                                                   *

                                                   *
                  Defendants.
                                                   *



                                    AMENDED COMPLAINT


         COMES NOW Plaintiff Ascentium Capital LLC ("Ascentium"), and states its amended

  complaint against the above-named Defendants as follows:

                                     PRELIMINARY STATEMENT

         Ascentium is the victim of eight fraudulent equipment financing transactions orchestrated

  by Digital Sign Solutions LLC ("DSS") and Arvin Waddles ("Waddles"). To perpetrate their

  fraudulent scheme, DSS and Waddles masqueraded DSS as a vendor engaged in the sale of high-

  end LED signage and related equipment to businesses seeking financing from Ascentium. This

  was accomplished by submitting numerous sham DSS invoices to mislead Ascentium into

  believing that DSS was selling valuable equipment to these borrowers. In addition, at least three

  of these transactions involved financing applications submitted on behalf of borrowers that were

  subsequently determined to be victims of identity theft.



                                                  1
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 2 of 33 PageID #: 101




         In reliance on sham invoices from DSS, Ascentium deposited loan proceeds totaling over

  $600,000.00 into a DSS account designated by Waddles. Ascentium subsequently discovered that

  DSS and Waddles in fact never sold or delivered a single LED sign or other item of equipment to

  Ascentium’s customers, as the invoices were merely part of an elaborate ruse to enable DSS and

  Waddles to wrongfully obtain money from Ascentium.

         To date, DSS and Waddles have refused to return the ill-gotten loan proceeds to Ascentium

  or otherwise account for their unlawful activities. Accordingly, Ascentium brings this action to

  hold DSS and Waddles accountable for their actions and the financial losses it has incurred as a

  result. As further support, Ascentium alleges the following:

                             PARTIES, JURISDICTION, AND VENUE

         1.      Ascentium is a Delaware limited liability company with a primary place of business

  in Texas.

         2.      Ascentium’s sole member is RF Ascentium, LLC, a Delaware limited liability

  company with its principal place of business in Wilmington, Delaware. RF Ascentium, LLC’s

  sole member is Regions Bank. Regions Bank is an Alabama corporation with its principal place

  of business in Birmingham, Alabama. Accordingly, Ascentium is a citizen of the state of

  Alabama.

         3.      Defendant Digital Sign Solutions LLC (i.e., DSS) is a Louisiana limited liability

  company owned and operated by Defendant Arvin Waddles (i.e., Waddles). Upon information

  and belief, DSS is a single member LLC and Defendant Arvin Waddles is the sole member of

  DSS. Ascentium is not aware of any other members of DSS.

         4.      Defendant Waddles is domiciled in the State of Louisiana. Ascentium previously

  attempted to serve Ascentium’s original complaint [Doc. 1] on Defendant Waddles at the last




                                                  2
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 3 of 33 PageID #: 102




  known Louisiana address, 2998 Mt. Bethel Road, Keithville, Louisiana 71047. At that time,

  Ascentium discovered that Defendant Waddles is currently residing in Texas at 4600 Victory

  Drive, Apartment 73, Marshall Texas 75672. Ascentium is unaware whether or not Waddles

  moved to Texas permanently and with the intent to remain there such that Texas, and not

  Louisiana, is now his domicile. If Waddles did in fact move to Texas with the intent to remain in

  Texas, then Defendant Waddles is domiciled in Texas.

         5.      Defendant Waddles is a citizen of the State of Louisiana and, therefore, Defendant

  DSS is also a citizen of the State of Louisiana. Alternatively, if Waddles is determined to be

  domiciled in Texas, then DSS is a citizen of Texas.

         6.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

  § 1332 as the parties are of diverse citizenship and the amount in controversy exceeds $75,000.00.

         7.      As citizens of the State of Louisiana operating a business in Shreveport, this Court

  has personal jurisdiction over Defendants.

         8.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), because a

  substantial part of the wrongful conduct occurred in this district.

                                 ASCENTIUM'S BUSINESS MODEL

         9.      Ascentium is a commercial lender that provides equipment and technology

  financing solutions for companies ranging in size to family-owned businesses to Fortune 500s.

         10.     Among other industries, Ascentium provides financing and leasing options for

  manufacturers, distributors, resellers, and franchise organizations, as well as direct financing

  options for small businesses in the United States.




                                                    3
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 4 of 33 PageID #: 103




         11.     With the typical equipment finance transaction, Ascentium provides funding for

  some or all of the purchase price of the equipment on credit terms, and Ascentium takes a purchase

  money security interest in the equipment to secure repayment.

         12.     In these equipment finance transactions, Ascentium's collateral is often a significant

  if not primary source of recovery if the customer defaults on the loan. Accordingly, the availability

  and value of the collateral is often a critical aspect of Ascentium's lending decisions.

                 DEFENDANT DSS'S TRANSACTIONS WITH BORROWERS

         BC Professional LLC (Colorado Springs, Colorado)

         13.     BC Professional LLC ("BC Professional") is a Colorado limited liability company

  that purportedly operates or operated a business at 625 North Cascade Avenue, Colorado Springs,

  Colorado 80903 (the "Colorado Springs Premises").

         14.     On or about May 15, 2019, BC Professional's member, Ryan Cook, applied for a

  loan from Ascentium on BC Professional's behalf. Mr. Cook represented that BC Professional

  needed the loan to purchase an LED billboard sign from Defendant DSS for the Colorado Springs

  Premises.

         15.     Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of BC

  Professional's credit application, a true copy of which is attached as EXHIBIT 1 ("DSS Invoice

  No. 05149A2").

         16.     According to DSS Invoice No. 05149A2, Defendant DSS had sold (or proposed to

  sell) a high-end LED billboard sign and related equipment to BC Professional (collectively, the

  "BC Professional Equipment") for the sum of $82,750.00, plus taxes and freight charges.

         17.     According to DSS Invoice No. 05149A2, Defendant DSS intended to deliver the

  BC Professional Equipment to the Colorado Springs Premises.




                                                    4
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 5 of 33 PageID #: 104




          18.   Ascentium approved the credit application from BC Professional under the terms

  of Equipment Finance Agreement No. 2373593 (the "BC Professional Loan"), a true copy of which

  is attached as EXHIBIT 2.

          19.   Pursuant to the terms of the BC Professional Loan, BC Professional granted

  Ascentium a first-priority purchase money security interest in the BC Professional Equipment.

          20.   Ascentium duly perfected its security interest in the BC Professional Equipment by

  recording a UCC financing statement in Colorado, a true copy of which is attached as EXHIBIT 3.

          21.   On May 15, 2019, Ascentium advanced funds to DSS on BC Professional’s behalf

  to pay DSS Invoice No. 05149A2. Ascentium made the advance by an electronic funds transfer

  (or "EFT") in the amount of $90,990.75 into the deposit account of Defendant DSS designated by

  Defendant Waddles.

          22.   Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing BC Professional's purchase of the BC Professional Equipment and paying

  Invoice No. 05149A2 on BC Professional's behalf.

          23.   Defendants DSS and Waddles knew Ascentium intended for the BC Professional

  Equipment to serve as collateral and secure BC Professional's repayment of the BC Professional

  Loan.

          24.   On information and belief, Defendant DSS never sold the BC Professional

  Equipment to BC Professional.

          25.   On information and belief, Defendant DSS never delivered the BC Professional

  Equipment to the Colorado Springs Premises.

          26.   On information and belief, BC Professional never owned, leased, or had an interest

  in the Colorado Springs Premises.




                                                 5
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 6 of 33 PageID #: 105




         27.     Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with BC Professional or return Ascentium's funds.

         28.     BC Professional defaulted on the BC Professional Loan within a few months after

  Ascentium paid Defendant DSS.

         29.     Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify or provide the location of any BC Professional Equipment.

         30.     After BC Professional's default, Ascentium determined there is no BC Professional

  Equipment to repossess and sell to mitigate its losses.

         31.     Ascentium has been unable to collect the outstanding balance of the BC

  Professional Loan from BC Professional or its principal Ryan Cook.

         32.     Ascentium's losses from the BC Professional Loan and related funding to

  Defendant DSS exceed $90,000.00 to date.

         Do All Concrete & Construction Inc. (Pomona Park, Florida)

         33.     Do All Concrete & Construction, Inc. ("Do All Concrete") is a Florida corporation

  that purportedly operates or operated a business at 354 Sisco Road, Pomona Park, Florida 32181

  (the "Pomona Park Premises").

         34.     In June 2019, a person identifying himself as Keach Vinson, President of Do All

  Concrete, applied for a loan from Ascentium on Do All Concrete's behalf. This person represented

  that Do All Concrete needed the loan to purchase an LED billboard sign from Defendant DSS for

  the Pomona Park Premises.

         35.     Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of Do

  All Concrete's credit application, a true copy of which is attached as EXHIBIT 4 ("DSS Invoice

  No. 060719EL").




                                                   6
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 7 of 33 PageID #: 106




          36.    According to DSS Invoice No. 060719EL, Defendant DSS had sold (or proposed

  to sell) a high-end LED billboard sign and related equipment to Do All Concrete (collectively, the

  "Do All Concrete Equipment") for the sum of $37,000.00, plus taxes and freight charges.

          37.    According to DSS Invoice No. 060719EL, Defendant DSS intended to deliver the

  Do All Concrete Equipment the Pomona Park Premises.

          38.    Ascentium approved the credit application from Do All Concrete under the terms

  of Equipment Finance Agreement No. 2373593 (the "Do All Concrete Loan"), a true copy of which

  is attached as EXHIBIT 5.

          39.    Pursuant to the terms of the Do All Concrete Loan, Do All Concrete granted

  Ascentium a first-priority purchase money security interest in the Do All Concrete Equipment.

          40.    Ascentium duly perfected its security interest in the Do All Concrete Equipment by

  recording a UCC financing statement in Florida, a true copy of which is attached as EXHIBIT 6.

          41.    On June 17, 2019, Ascentium advanced funds to DSS on Do All Concrete’s behalf

  to pay DSS Invoice No. 060719EL. Ascentium made the advance by an EFT in the amount of

  $40,000.00 into the deposit account of Defendant DSS designated by Defendant Waddles.

          42.    Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing Do all Concrete's purchase of the Do All Concrete Equipment and paying

  DSS Invoice No. 060719EL on Do All Concrete's behalf.

          43.    Defendants DSS and Waddles knew Ascentium intended for the Do All Concrete

  Equipment to serve as collateral and secure Do All Concrete's repayment of the Do All Concrete

  Loan.

          44.    On information and belief, Defendant DSS never sold the Do All Concrete

  Equipment to Do All Concrete.




                                                  7
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 8 of 33 PageID #: 107




         45.     On information and belief, Defendant DSS never delivered the Do All Concrete

  Equipment to the Pomona Park Premises.

         46.     Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with Do All Concrete or return Ascentium's funds.

         47.     Do All Concrete immediately defaulted on the Do All Concrete Loan after

  Ascentium paid Defendant DSS.

         48.     After Do All Concrete's default, Ascentium determined there is no Do All Concrete

  Equipment to repossess and sell to mitigate its losses.

         49.     After Do All Concrete's default, Ascentium's investigation revealed Mr. Vinson had

  been the victim of identity theft, meaning that someone purporting to be Mr. Vinson transacted

  with Defendant DSS.

         50.     Ascentium has been unable to identify the fraudster who held himself out as the

  President of Do All Concrete and entered into the Do All Concrete Loan.

         51.     Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify the fraudster or otherwise cooperate in Ascentium's investigation of the fraud.

         52.     Ascentium's losses from the Do All Concrete Loan and related funding to

  Defendant DSS exceed $40,000.00 to date.

         Enegal LLC (Raleigh, North Carolina)

         53.     Enegal LLC ("Enegal") is a North Carolina limited liability company that

  purportedly operates or operated a business at 8801 Fast Park Drive, Suite 301, Raleigh, North

  Carolina 27617 (the "Raleigh Premises").

         54.     On or about May 29, 2019, Enegal's Chief Executive Officer ("CEO"), Gene

  Mcphaul, applied for a loan from Ascentium on Enegal's behalf. Mr. Mcphaul represented that




                                                   8
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 9 of 33 PageID #: 108




  Enegal needed the loan to purchase an LED billboard sign from Defendant DSS for the Raleigh

  Premises.

         55.     Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of

  Enegal's credit application, a true copy of which is attached as EXHIBIT 7 ("DSS Invoice No.

  5292019DAF").

         56.     According to DSS Invoice No. 5292019DAF, Defendant DSS had sold (or

  proposed to sell) a high-end LED billboard sign and related equipment to Enegal (collectively, the

  "Enegal Equipment") for the sum of $58,000.00, plus taxes and freight charges.

         57.     According to DSS Invoice No. 5292019DAF, Defendant DSS intended to deliver

  the Enegal Equipment to the Raleigh Premises.

         58.     Ascentium approved the credit application from Enegal under the terms of

  Equipment Finance Agreement No. 2376789 (the "Enegal Loan"), a true copy of which is attached

  as EXHIBIT 8.

         59.     Pursuant to the terms of the Enegal Loan, Enegal granted Ascentium a first-priority

  purchase money security interest in the Enegal Equipment.

         60.     Ascentium duly perfected its security interest in the Enegal Equipment by recording

  a UCC financing statement in Colorado, a true copy of which is attached as EXHIBIT 9.

         61.     On May 30, 2019, Ascentium advanced funds to DSS on Enegal’s behalf to pay

  DSS Invoice No. 5292019DAF. Ascentium made the advance by an EFT in the amount of

  $65,105.00 into the deposit account of Defendant DSS designated by Defendant Waddles.

         62.     Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing Enegal's purchase of the Enegal Equipment and paying DSS Invoice No.

  5292019DAF on Enegal's behalf.




                                                  9
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 10 of 33 PageID #: 109




         63.     Defendants DSS and Waddles knew Ascentium intended for the Enegal Equipment

  to serve as collateral and secure Enegal's repayment of the Enegal Loan.

         64.     On information and belief, Defendant DSS never sold the Enegal Equipment to

  Enegal.

         65.     On information and belief, Defendant DSS never delivered the Enegal Equipment

  to the Raleigh Premises.

         66.     Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with Enegal or return Ascentium's funds.

         67.     Enegal defaulted on the Enegal Loan within a few months after Ascentium paid

  Defendant DSS.

         68.     Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify or provide the location of any Enegal Equipment.

         69.     After Enegal's default, Ascentium determined there is no Enegal Equipment to

  repossess and sell to mitigate its losses.

         70.     Ascentium has been unable to collect the outstanding balance of the Enegal from

  Enegal or its CEO Gene Mcphaul.

         71.     Ascentium's losses from the BC Professional Loan and related funding to

  Defendant DSS exceed $65,105.00 to date.

         Express Medical Transportation LLC (Denver, Colorado)

         72.     Express Medical Transportation LLC ("Express Medical") is a Colorado limited

  liability company that purportedly operates or operated a business at 1338 South Valentia Street,

  Denver, Colorado 80247 (the "Denver Premises").




                                                 10
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 11 of 33 PageID #: 110




         73.     On or about May 28, 2019, Express Medical's managing member, Dana Davis,

  applied for a loan from Ascentium on Express Medical's behalf. Dana Davis represented that

  Express Medical needed the loan to purchase an LED billboard sign from Defendant DSS for the

  Denver Premises.

         74.     Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of

  Express Medical's credit application, a true copy of which is attached as EXHIBIT 10 ("DSS

  Invoice No. 052319T1").

         75.     According to DSS Invoice No. 052319T1, Defendant DSS had sold (or proposed

  to sell) a high-end LED billboard sign and related equipment to Express Medical (collectively, the

  "Express Medical Equipment") for the sum of $58,000.00, plus taxes and freight charges.

         76.     According to DSS Invoice No. 052319T1, Defendant DSS intended to deliver the

  Express Medical Equipment to the Denver Premises.

         77.     Ascentium approved the credit application from Express Medical under the terms

  of Equipment Finance Agreement No. 2375569 (the " Express Medical Loan"), a true copy of

  which is attached as EXHIBIT 11.

         78.     Pursuant to the terms of the Express Medical Loan, Express Medical granted

  Ascentium a first-priority purchase money security interest in the Express Medical Equipment.

         79.     Ascentium duly perfected its security interest in the Express Medical Equipment

  by recording a UCC financing statement in Colorado, a true copy of which is attached as

  EXHIBIT 12.

         80.     On May 29, 2019, Ascentium advanced funds to DSS on Express Medical’s behalf

  to pay DSS Invoice No. 052319T1. Ascentium made the advance by an EFT in the amount of

  $40,000.00 into the deposit account of Defendant DSS designated by Defendant Waddles.




                                                 11
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 12 of 33 PageID #: 111




          81.    Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing Express Medical's purchase of the Express Medical Equipment and paying

  DSS Invoice No. 052319T1 on Enegal's behalf.

          82.    Defendants DSS and Waddles knew Ascentium intended for the Express Medical

  Equipment to serve as collateral and secure Express Medical's repayment of the Express Medical

  Loan.

          83.    On information and belief, Defendant DSS never sold the Express Medical

  Equipment to Express Medical.

          84.    On information and belief, Defendant DSS never delivered the Express Medical

  Equipment to the Denver Premises.

          85.    Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with Express Medical or return Ascentium's funds.

          86.    Express Medical immediately defaulted on the Express Medical Loan after

  Ascentium paid Defendant DSS.

          87.    After Express Medical's default, Ascentium determined there is no Express Medical

  Equipment to repossess and sell to mitigate its losses.

          88.    Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify or provide the location of any Express Medical Equipment.

          89.    Ascentium has been unable to collect the outstanding balance of the Express

  Medical Loan from Express Medical or its managing member Dana Davis.

          90.    Ascentium's losses from the Express Medical Loan and related funding to

  Defendant DSS exceed $40,000.00 to date.

          Holmes Real Estate Investing, LLC (Conyers, Georgia)




                                                  12
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 13 of 33 PageID #: 112




         91.    Holmes Real Estate Investing, LLC ("Holmes Real Estate") is a Georgia limited

  liability company that purportedly operates or operated a business at 1775 Parker Road SE,

  Building C, Suite 210, Conyers, Georgia 30094 (the "Conyers Premises").

         92.    In May 2019, a person identifying himself as William Kido, a member of Holmes

  Real Estate, applied for a loan from Ascentium on Holmes Real Estate's behalf. This person

  represented that Holmes Real Estate needed the loan to purchase an LED billboard sign from

  Defendant DSS for the Conyers Premises.

         93.    Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of

  Holmes Real Estate's credit application, a true copy of which is attached as EXHIBIT 13 ("DSS

  Invoice No. 052319A3").

         94.    According to DSS Invoice No. 052319A3, Defendant DSS had sold (or proposed

  to sell) a high-end LED billboard sign and related equipment to Holmes Real Estate (collectively,

  the " Holmes Real Estate Equipment") for the sum of $64,000.00, plus taxes and freight charges.

         95.    According to DSS Invoice No. 052319A3, Defendant DSS intended to deliver the

  Holmes Real Estate Equipment to the Conyers Premises.

         96.    Ascentium approved the credit application from Holmes Real Estate under the

  terms of Equipment Finance Agreement No. 2375909 (the "Holmes Real Estate Loan"), a true

  copy of which is attached as EXHIBIT 14.

         97.    Pursuant to the terms of the Holmes Real Estate Loan, Holmes Real Estate granted

  Ascentium a first-priority purchase money security interest in the Holmes Real Estate Equipment.

         98.    Ascentium duly perfected its security interest in the Holmes Real Estate Equipment

  by recording a UCC financing statement in Georgia, a true copy of which is attached as

  EXHIBIT 15.




                                                 13
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 14 of 33 PageID #: 113




         99.     On May 24, 2019, Ascentium advanced funds to DSS on Holmes Real Estate’s

  behalf to pay DSS Invoice No. 052319A3. Ascentium made the advance by an EFT in the amount

  of $69,000.00 into the deposit account of Defendant DSS designated by Defendant Waddles.

         100.    Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing Holmes Real Estate's purchase of the Holmes Real Estate Equipment and

  paying DSS Invoice No. 052319A3 on Holmes Real Estate's behalf.

         101.    Defendants DSS and Waddles knew Ascentium intended for the Holmes Real

  Estate Equipment to serve as collateral and secure Holmes Real Estate's repayment of the Holmes

  Real Estate Loan.

         102.    On information and belief, Defendant DSS never sold the Holmes Real Estate

  Equipment to Holmes Real Estate.

         103.    On information and belief, Defendant DSS never delivered the Holmes Real Estate

  Equipment to the Conyers Premises.

         104.    Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with Holmes Real Estate or return Ascentium's funds.

         105.    Holmes Real Estate defaulted on the Holmes Real Estate Loan within a few months

  after Ascentium paid Defendant DSS.

         106.    After Holmes Real Estate's default, Ascentium determined there is no Holmes Real

  Estate Equipment to repossess and sell to mitigate its losses.

         107.    After Holmes Real Estate's default, Ascentium's investigation revealed the

  gentleman identifying himself as a member of Holmes Real Estate did not, in fact, have any

  ownership interest in Holmes Real Estate.




                                                  14
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 15 of 33 PageID #: 114




         108.    The sole owner of Holmes Real Estate, Shirley Holmes, claims someone assisted

  her in applying for a working capital loan, not a loan to finance the purchase of an LED billboard

  sign or any other property.

         109.    Shirley Holmes also claims she does not know and has never transacted business

  with Defendants DSS and Waddles; however, Ascentium's investigation reveals Defendant DSS

  made at least two EFTs to a deposit account of Holmes Real Estate immediately after receiving

  the aforementioned EFT from Ascentium.

         110.    Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify or provide the location of any Holmes Real Estate Equipment.

         111.    Ascentium's losses from the Holmes Real Estate Loan and related funding to

  Defendant DSS exceed $40,000.00 to date.

         Nav Management & Marketing, LLC (Melbourne, Florida)

         112.    Nav Management & Marketing, LLC ("Nav Management") is a Colorado limited

  liability company that purportedly operates or operated a business at 3270 Suntree Boulevard,

  Suite 167, Melbourne, Florida 32940 (the "Melbourne Premises").

         113.    On or about June 27, 2019, Nav Management's managing member, Travis

  Robinson, applied for a loan from Ascentium on Nav Management's behalf. Mr. Robinson

  represented that Nav Management needed the loan to purchase an LED billboard sign from

  Defendant DSS for the Melbourne Premises.

         114.    Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of Nav

  Management's credit application, a true copy of which is attached as EXHIBIT 16 ("DSS Invoice

  No. M062619MKJ").




                                                 15
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 16 of 33 PageID #: 115




          115.   According to DSS Invoice No. M062619MKJ, Defendant DSS had sold (or

  proposed to sell) a high-end LED billboard sign and related equipment to Nav Marketing

  (collectively, the "Nav Marketing Equipment") for the sum of $79,000.00, plus taxes and freight

  charges.

          116.   According to DSS Invoice No. M062619MKJ, Defendant DSS intended to deliver

  the Nav Marketing Equipment to the Melbourne Premises.

          117.   Ascentium approved the credit application from Nav Marketing under the terms of

  Equipment Finance Agreement No. 2382514 (the "Nav Marketing Loan"), a true copy of which is

  attached as EXHIBIT 17.

          118.   Pursuant to the terms of the Nav Marketing Loan, BC Professional granted

  Ascentium a first-priority purchase money security interest in the BC Professional Equipment.

          119.   Ascentium duly perfected its security interest in the Nav Marketing Equipment by

  recording a UCC financing statement in Florida, a true copy of which is attached as EXHIBIT 18.

          120.   On June 28, 2019, Ascentium advanced funds to DSS on Nav Marketing’s behalf

  to pay DSS Invoice No. M062619MKJ. Ascentium made the advance by EFT in the amount of

  $86,430.00 into the deposit account of Defendant DSS designated by Defendant Waddles.

          121.   Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing Nav Marketing's purchase of the Nav Marketing Equipment and paying

  DSS Invoice No. M062619MKJ on Nav Marketing's behalf.

          122.   Defendants DSS and Waddles knew Ascentium intended for the Nav Marketing

  Equipment to serve as collateral and secure Nav Marketing's repayment of the Nav Marketing

  Loan.




                                                16
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 17 of 33 PageID #: 116




         123.    On information and belief, Defendant DSS never sold the Nav Marketing

  Equipment to Nav Marketing.

         124.    On information and belief, Defendant DSS never delivered the Nav Marketing

  Equipment to the Melbourne Premises.

         125.    Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with Nav Marketing or return Ascentium's funds.

         126.    Nav Marketing defaulted on the Nav Marketing Loan within a few months after

  Ascentium paid Defendant DSS.

         127.    Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify or provide the location of any Nav Marketing Equipment.

         128.    After BC Professional's default, Ascentium determined there is no Nav Marketing

  Equipment to repossess and sell to mitigate its losses.

         129.    Ascentium has been unable to collect the outstanding balance of the Nav Marketing

  Loan from Nav Marketing or its managing member Travis Robinson.

         130.    Ascentium's losses from the Nav Marketing Loan and related funding to Defendant

  DSS exceed $120,000.00 to date.

         UBU Holdings, Inc. (Pomona Park, Florida)

         131.    UBU Holdings, Inc. ("UBU") is a California corporation that purportedly operates

  or operated a business at 9601 Wilshire Boulevard, Beverly Hills, California 90210 (the "Beverly

  Hills Premises").

         132.    On or about June 26, 2019, a person identifying himself as Walter Morgan,

  President of UBU, applied for a loan from Ascentium on UBU's behalf. This person represented




                                                  17
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 18 of 33 PageID #: 117




  that UBU needed the loan to purchase an LED billboard sign from Defendant DSS for the Beverly

  Hills Premises.

         133.    Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of UBU's

  credit application, a true copy of which is attached as EXHIBIT 19 ("DSS Invoice No.

  062519TRC").

         134.    According to DSS Invoice No. 062519TRC, Defendant DSS had sold (or proposed

  to sell) a high-end LED billboard sign and related equipment to UBU (collectively, the "UBU

  Equipment") for the sum of $35,000.00, plus taxes and freight charges.

         135.    According to DSS Invoice No. 062519TRC, Defendant DSS intended to deliver the

  UBU Equipment the Beverly Hills Premises.

         136.    Ascentium approved the credit application from UBU under the terms of

  Equipment Finance Agreement No. 2382709 (the "UBU Loan"), a true copy of which is attached

  as EXHIBIT 20.

         137.    Pursuant to the terms of the UBU Loan, UBU granted Ascentium a first-priority

  purchase money security interest in the UBU Equipment.

         138.    Ascentium duly perfected its security interest in the UBU Equipment by recording

  a UCC financing statement in California, a true copy of which is attached as EXHIBIT 21.

         139.    On June 27, 2019, Ascentium advanced funds to DSS on UBU’s behalf to pay DSS

  Invoice No. 062519TRC. Ascentium made the advance by an EFT in the amount of $40,000.00

  into the deposit account of Defendant DSS designated by Defendant Waddles.

         140.    Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing UBU's purchase of the UBU' Equipment and paying DSS Invoice No.

  062519TRC on UBU's behalf.




                                                18
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 19 of 33 PageID #: 118




         141.    Defendants DSS and Waddles knew Ascentium intended for the UBU Equipment

  to serve as collateral and secure UBU's repayment of the UBU Loan.

         142.    On information and belief, Defendant DSS never sold the UBU Equipment to UBU.

         143.    On information and belief, Defendant DSS never delivered the UBU Equipment to

  the Beverly Hills Premises.

         144.    Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with UBU or return Ascentium's funds.

         145.    UBU immediately defaulted on the UBU Loan after Ascentium paid Defendant

  DSS.

         146.    After UBU's default, Ascentium determined there is no UBU Equipment to

  repossess and sell to mitigate its losses.

         147.    After UBU's default, Ascentium's investigation revealed Mr. Morgan had been the

  victim of identity theft, meaning that someone purporting to be Mr. Morgan transacted with

  Defendant DSS.

         148.    Ascentium has been unable to identify the fraudster who held himself out as the

  President of UBU and entered into the UBU Loan.

         149.    Despite repeated requests, Defendants DSS and Waddles have failed and refused

  to identify the fraudster or otherwise cooperate in Ascentium's investigation of the fraud.

         150.    Ascentium's losses from the UBU Loan and related funding to Defendant DSS

  exceed $40,000.00 to date.

         WB Piano and Furniture LLC (Missouri City, Texas)

         151.    On information and belief, WB Piano and Furniture LLC ("WB Piano,” and when

  used collectively with BC Professional, Do All Concrete, Enegal, Express Medical, Holmes Real




                                                  19
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 20 of 33 PageID #: 119




  Estate, NAV Management, and UBU, the “Borrowers”) and collectively with is a fictitious

  company that purportedly operates or operated a business at 3766 Cartright Road, Missouri City,

  Texas 77459 (the "Missouri City Premises").

         152.   On or about May 6, 2019, a person identifying herself as Ashley Williams, an owner

  of WB Piano, applied for a loan from Ascentium on WB Piano's behalf. This person represented

  that WB Piano needed the loan to purchase an LED billboard sign from Defendant DSS for the

  Missouri City Premises.

         153.   Defendant Waddles submitted a DSS invoice to Ascentium in furtherance of WB

  Piano's credit application, a true copy of which is attached as EXHIBIT 22 ("DSS Invoice No.

  050619").

         154.   According to DSS Invoice No. 050619, Defendant DSS had sold (or proposed to

  sell) a high-end LED billboard sign and related equipment to WB Piano (collectively, the "WB

  Piano Equipment") for the sum of $82,750.00, plus taxes and freight charges.

         155.   According to DSS Invoice No. 050619, Defendant DSS intended to deliver the WB

  Piano Equipment the Missouri City Premises.

         156.   Ascentium approved the credit application from WB Piano under the terms of

  Equipment Finance Agreement No. 2371482 (the "WB Piano Loan"), a true copy of which is

  attached as EXHIBIT 23.

         157.   Pursuant to the terms of the WB Piano Loan, WB Piano granted Ascentium a first-

  priority purchase money security interest in the WB Piano Equipment.

         158.   Ascentium duly perfected its security interest in the WB Piano Equipment by

  recording a UCC financing statement in Texas, a true copy of which is attached as EXHIBIT 24.




                                                20
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 21 of 33 PageID #: 120




          159.    On May 7, 2019, Ascentium advanced funds to DSS on WB Piano’s behalf to pay

  DSS Invoice No. 050619. Ascentium made the advance by an EFT in the amount of $93,783.75

  into the deposit account of Defendant DSS designated by Defendant Waddles.

          160.    Defendants DSS and Waddles knew Ascentium sent the EFT for the singular

  purpose of completing WB Piano's purchase of the WB Piano Equipment and paying DSS Invoice

  No. 050619 on WB Piano's behalf.

          161.    Defendants DSS and Waddles knew Ascentium intended for the WB Piano

  Equipment to serve as collateral and secure WB Piano's repayment of the WB Piano Loan.

          162.    On information and belief, Defendant DSS never sold the WB Piano Equipment to

  WB Piano.

          163.    On information and belief, Defendant DSS never delivered the WB Piano

  Equipment to the Missouri City Premises.

          164.    Defendants DSS and Waddles did not notify Ascentium about the aborted

  transaction with WB Piano or return Ascentium's funds.

          165.    WB Piano defaulted on the WB Piano Loan within one month after Ascentium paid

  Defendant DSS.

          166.    After WB Piano's default, Ascentium determined there is no WB Piano Equipment

  to repossess and sell to mitigate its losses.

          167.    After WB Piano's default, Ascentium's investigation revealed Ms. Williams is not

  employed or affiliated with WB Piano, Ms. Williams had been the victim of identity theft, and

  someone purporting to be Ms. Williams transacted with Defendant DSS.




                                                  21
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 22 of 33 PageID #: 121




          168.    In Ms. Williams’ case, Ascentium has identified and obtained a default judgment

  against the fraudster who held himself out as Ashley Williams and entered into the WB Piano

  Loan.

          169.    Despite repeated requests, Defendants DSS and Waddles nevertheless failed and

  refused to identify the fraudster or otherwise cooperate in Ascentium's investigation of the fraud.

          170.    Ascentium's losses from the WB Piano Loan and related funding to Defendant DSS

  exceed $94,000.00 to date.



          Additional Defined Terms

          171.    BC Professional, Do All Concrete, Enegal, Express Medical, Holmes Real Estate,

  NAV Marketing, UBU, and WB Piano shall each be a "Borrower" and collectively "Borrowers"

  herein below.

          172.    The BC Professional Equipment, the Do All Concrete Equipment, the Enegal

  Equipment, the Express Medical Equipment, the Holmes Real Estate Equipment, the NAV

  Marketing Equipment, the UBU Equipment, and the WB Piano Equipment shall be collectively

  referred to as the "Equipment" herein below.

          173.    DSS Invoice No. 05149A2, DSS Invoice No. 060719EL, DSS Invoice No.

  5292019DAF, DSS Invoice No. 052319T1, DSS Invoice No. 052319A3, DSS Invoice No.

  M062619MKJ, DSS Invoice No. 062519TRC, and DSS Invoice No. 050619 shall each be an

  "Invoice" and collectively the "Invoices" herein below.

          174.    The BC Professional Loan, the Do All Concrete Loan, the Enegal Loan, the Express

  Medical Loan, the Holmes Real Estate Loan, the NAV Marketing Loan, the UBU Loan shall each

  be a "Loan Transaction" and collectively the "Loan Transactions" herein below.




                                                  22
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 23 of 33 PageID #: 122




          175.    The EFTs that Ascentium sent DSS in furtherance of the Loan Transactions, as

  described hereinabove, shall collectively be the "Loan Payments" herein below.

                                              COUNT I

                                               FRAUD

          176.    Ascentium hereby incorporates the preceding paragraphs of this amended

  complaint as if restated herein in full.

          177.    Upon information and belief, Defendants DSS and Waddles, acting independently

  and as part of a conspiracy with Borrowers, engaged in a fraudulent scheme whereby they

  knowingly and intentionally made false representations to and withheld material facts from

  Ascentium in order to induce Ascentium to enter into the Loan Transactions.

          178.    Upon information and belief, Defendants DSS and Waddles, acting independently

  and as part of a conspiracy with Borrowers, engaged in a fraudulent scheme whereby they

  knowingly and intentionally made false representations to and withheld material facts from

  Ascentium in order to induce Ascentium to disburse the Loan Payments into a DSS account

  designated by Waddles.

          179.    Defendants DSS and Waddles perpetrated their fraudulent scheme to obtain the

  Loan Payments from Ascentium by presenting Ascentium with sham Invoices for bogus sales of

  non-existent Equipment to Borrowers.

          180.    Among the materially false representations from Defendants DSS and Waddles,

  they prepared and presented Ascentium with Invoices, each of which constituted a representation:

                  a.      That DSS had entered into a bona fide sale of the Equipment listed in the

  Invoice with the Borrower identified in the Invoice, even though no such bona fide sale had

  occurred;




                                                  23
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 24 of 33 PageID #: 123




                  b.        That any Loan Payments provided by Ascentium to DSS would be applied

  toward such purchase, even though DSS intended to use the Loan Payments for other purposes;

  and

                  c.        That DSS would deliver the Equipment listed in the Invoice to the business

  address of the Borrower identified in the Invoice upon receipt of payment from Ascentium, even

  though DSS never intended to sell or deliver the Equipment at issue.

          181.    Among the material omissions of fact by Defendants DSS and Waddles, they

  deliberately withheld from Ascentium and failed to disclose:

                  a.        That the Borrowers did not purchase or intend to purchase the Equipment

  listed in the Invoices;

                  b.        That Defendants DSS and Waddles intended to use the Loan Payments for

  purposes unrelated to the sale and delivery of the Equipment; and

                  c.        That Defendants DSS and Waddles intended to disburse some of the Loan

  Payments to the Borrowers and/or representatives of the Borrowers unknown to Ascentium.

          182.    Additionally, at least three (3) of the eight (8) Loan Transactions involve identity

  theft. Upon information and belief, Defendants DSS and Waddles knowingly and intentionally (i)

  misappropriated the identity of Keach Vinson on behalf of Do All Concrete and Walter Morgan

  on behalf of UBU and (ii) applied for and obtained loans from Ascentium purportedly to finance

  the Equipment related thereto, without the knowledge or consent of Keach Vinson or Walter

  Morgan. . In the alternative, Defendants DSS and Waddles acted in concert and conspired with

  other persons to accomplish the same fraudulent objective—namely, to misappropriate the identity

  of Keach Vinson on behalf of Do All Concrete, Walter Morgan on behalf of UBU, and Ashley

  Williams on behalf of WB Piano, and (ii) apply for and obtain loans from Ascentium to purportedly




                                                    24
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 25 of 33 PageID #: 124




  finance the Equipment related thereto, without the knowledge or consent of Keach Vinson, Walter

  Morgan, or Ashley Williams, respectively.

         183.    Defendants DSS and Waddles engaged in the fraudulent acts described herein with

  full knowledge that Ascentium made the Loan Payments to DSS for the singular purpose of

  financing/obtaining a purchase money security interest in the Equipment identified in the

  corresponding Invoices.

         184.    Defendants DSS and Waddles engaged in the fraudulent acts described herein with

  full knowledge that Ascentium intended for and expected that the Equipment listed in the Invoices

  that Ascentium paid for the Borrowers would be available as collateral to secure Borrowers’

  repayment of their respective Loans.

         185.    In the event DSS ever intended to sell the Equipment to the Borrowers, Defendants

  DSS and Waddles never notified Ascentium that the sales had been aborted or returned the Loan

  Payments to Ascentium.

         186.    Ascentium reasonably and justifiably relied on materially false representations of

  Defendants DSS and Waddles, as described hereinabove.

         187.    Ascentium would not have approved the Loans or made the Loan Payments if it

  had been aware that the aforementioned representations of Defendants DSS and Waddles were

  materially false.

         188.    Ascentium would not have approved the Loans or made the Loan Payments if

  Defendants DSS and Waddles had disclosed the material facts described in paragraph 181

  hereinabove.

         189.    As a direct and proximate cause of the fraudulent conduct described herein above,

  Ascentium has suffered damages in an amount to be determined at trial.




                                                 25
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 26 of 33 PageID #: 125




          190.    Ascentium hereby claims and is entitled to recover damages from DSS and

  Waddles (in solido) for fraud, in an amount to be proven at trial.

                                              COUNT II

                                             CONVERSION

          191.    Ascentium hereby incorporates the preceding paragraphs of this amended

  complaint as if restated herein in full.

          192.    Ascentium deposited the Loan Payments into a DSS account designated by

  Waddles for the singular purpose of completing Borrowers’ purchase of Equipment from DSS and

  paying the corresponding Invoices on Borrowers’ behalf.

          193.    Defendants DSS and Waddles are not entitled to retain the Loan Payments, in light

  of the fact that DSS never delivered the Equipment for which it was paid.

          194.    Under the facts and circumstances alleged herein, Ascentium is entitled to the

  immediate return and possession of the Loan Payments.

          195.    At all times pertinent hereto, Defendants DSS and Waddles have improperly and

  wrongfully exercised dominion and control over the Loan Payments.

          196.    At all times pertinent hereto, Defendants DSS and Waddles have improperly and

  wrongfully misappropriated the Loan Payments for their own benefit in contravention of

  Ascentium's rights and interest therein.

          197.    Upon information and belief, Defendants DSS and Waddles, acting independently

  and as part of a conspiracy, accepted the Loan Payments with the intent of permanently depriving

  Ascentium of the same.

          198.    Defendants DSS and Waddles are jointly and severally liable to Ascentium for

  conversion.




                                                  26
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 27 of 33 PageID #: 126




          199.    As a direct and proximate cause of the conversion described herein above,

  Ascentium has suffered damages in an amount to be determined at trial.

          200.    Ascentium hereby claims and is entitled to recover damages for conversion from

  Defendants DSS and Waddles (in solido), in an amount to be proven at trial.



                                             COUNT III

                             LOUISIANA UNFAIR TRADE PRACTICE ACT

          201.    Ascentium hereby incorporates the preceding of this amended complaint as if

  restated herein in full.

          202.    The Louisiana Unfair Trade Practices and Consumer Protection Law (“LUPTA”),

  La. Stat. Ann. § 51:1401 et seq., provides that “unfair or deceptive acts or practices in the conduct

  of any trade or commerce” are unlawful. La. Stat. Ann. § 51:1405.

          203.    Under the facts and circumstances alleged herein, Defendants DSS and Waddles,

  acting independently and as part of a conspiracy, engaged in unfair or deceptive acts or practices

  in violation of LUPTA while conducting the business of DSS.

          204.    The unfair and deceptive practices committed by Defendants DSS and Waddles

  involved a fraudulent scheme, whereby they repeatedly prepared and presented Ascentium with

  sham Invoices for the purpose of deceiving Ascentium and obtaining the Loan Payments under

  false pretenses.

          205.    By providing the eight Invoices described hereinabove to Ascentium, Defendants

  DSS and Waddles affirmatively represented that (i) DSS was a legitimate business engaged in the

  sale of high-end LED signage and related equipment, (ii) DSS had either sold or intended to sell

  the Equipment described on such Invoices to the Borrowers for the price, plus taxes and freight,




                                                   27
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 28 of 33 PageID #: 127




  set forth on the Invoices, and (iii) DSS would deliver the Equipment to the Borrowers upon

  payment of the amounts due.

          206.    Upon information and belief, Defendants DSS and Waddles concealed the true

  nature of their "transactions" with the Borrowers to induce Ascentium to enter into the Loan

  Transactions and send the Loan Payments to DSS.

          207.    As a direct and proximate cause of the fraudulent and deceptive practices described

  herein above, Ascentium has suffered damages in an amount to be determined at trial.

          208.    Ascentium hereby claims and is entitled to recover from Defendants DSS and

  Waddles (in solido) treble damages plus attorney fees for the unfair and deceptive acts and

  practices committed by DSS and Waddles. La. Stat. Ann. § 51:1409(A).

                                             COUNT IV

                                    OBLIGATION TO RESTORE

          209.    Ascentium hereby incorporates the preceding paragraphs of this amended

  complaint as if restated herein in full.

          210.    Louisiana Civil Code article 2299 provides “a person who has received a payment

  … not owed to him is bound to restore it to the person from whom he received it.” La. Civ. Code

  art 2299. “A thing is not owed when it is paid or delivered for the discharge of an obligation that

  does not exist.” La. Civ. Code art. 2300

          211.    Ascentium entered into the various Loan Transactions with Borrowers described

  herein to finance the purchase of certain specific Equipment from Defendant DSS. See Exhibits

  2, 5, 8, 11, 14, 17, 20, and 23. at “Agreement” (“Ascentium Capital, LLC … agrees to lend to

  Debtor and you agree to borrow from us an amount for the financing of Collateral.”) (emphasis

  supplied). Thus Ascentium made the Loan Payments pursuant to a perceived obligation to pay the




                                                  28
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 29 of 33 PageID #: 128




  Invoices from Defendant DSS to complete each such Borrower's purchase of certain Equipment

  and acquire a purchase money security interest in the Equipment.

          212.    If Defendants DSS and Waddles did not sell the Equipment to Borrowers, however,

  Ascentium was under no obligation to make the Loan Payments.

          213.    If Defendants DSS and Waddles in fact did not sell the Equipment to Borrower,

  however, then the Invoices were not due and owing to DSS.

          214.    Defendants DSS and Waddles, acting independently and as part of a conspiracy,

  have refused to return the Loan Payments to Ascentium.

          215.    As a direct and proximate cause of the foregoing acts and conduct of Defendants,

  Ascentium has suffered damages in an amount to be determined at trial.

          216.    Ascentium hereby claims and is entitled to recover damages from Defendants DSS

  and Waddles (in solido) in an amount to be proven at trial for their failure to restore the Loan

  Payments to Ascentium.

                                              COUNT V

                                    DETRIMENTAL RELIANCE

          217.    Ascentium hereby incorporates the preceding paragraphs of this amended

  complaint as if restated herein in full.

          218.    Louisiana Civil Code article 1967 provides “[a] party may be obligated by a

  promise when he knew or should have known that the promise would induce the other party to

  rely on it to his detriment and the other party was reasonable in so relying.” La Civ. Code art 1967.

          219.    Each Invoice from Defendant DSS constituted a promise to Ascentium that (i) DSS

  is and was a legitimate business engaged in the sale of high-end LED signage and related

  equipment, (ii) DSS had either sold or intended to sell the Equipment described on such Invoices




                                                   29
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 30 of 33 PageID #: 129




  to the Borrowers for the price, plus taxes and freight, set forth on the Invoices, and (iii) DSS would

  deliver the Equipment to the Borrowers upon payment of the amounts due.

           220.   Defendants' conduct of accepting the Loan Payments in a DSS account designated

  by Waddles likewise constituted a promise to Ascentium that (i) DSS is and was a legitimate

  business engaged in the sale of high-end LED signage and related equipment, (ii) DSS had either

  sold or intended to sell the Equipment described on such Invoices to the Borrowers for the price,

  plus taxes and freight, set forth on the Invoices, and (iii) DSS would deliver the Equipment to the

  Borrowers upon payment of the amounts due.

           221.   Ascentium relied on the promises made by Defendants to its detriment. Indeed,

  Ascentium would not have approved the Loans or made the Loan Payments but for these promises.

           222.   As a direct and proximate cause of Ascentium’s reliance on these promises from

  Defendants DSS and Waddles, Ascentium has suffered damages in an amount to be determined at

  trial.

           223.   Ascentium hereby claims and is entitled to recover damages from Defendants DSS

  and Waddles (in solido) for detrimental reliance, in an amount to be proven at trial.

                                              COUNT VI

                                       UNJUST ENRICHMENT

           224.   Ascentium hereby incorporates the preceding paragraphs of this amended

  complaint as if restated herein in full.

           225.   La Civ. Code art. 2298 provides, in pertinent part, that “[a] person who has been

  enriched without cause at the expense of another person is bound to compensate that person[.]”

  La Civ. Code art. 2298.




                                                   30
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 31 of 33 PageID #: 130




         226.      Defendants DSS and Waddles received the Loan Payments in return for the sale

  and delivery of the Equipment; yet, upon information and belief, DSS and Waddles never sold or

  delivered the Equipment to the Borrowers. Consequentially, DSS and Waddles have been enriched

  without cause.

         227.      Under the circumstances presented here, it would be unjust to allow Defendants

  DSS and Waddles to retain the Loan Payments.

         228.      Defendants DSS and Waddles have been unjustly enriched at Ascentium's expense,

  and applicable law provides Ascentium a remedy.

         229.      Ascentium hereby claims and is entitled to recover damages from Defendants DSS

  and Waddles (in solido), in an amount to be proven at trial.

         WHEREFORE, having stated its amended complaint against Defendants herein above,

  Ascentium prays for the following relief:

         A.        Under Count I, for judgment against Defendants, in solido, for compensatory

  damages in an amount to be proven at trial;

         B.        Under Count II, for judgment against Defendants, in solido, for compensatory

  damages in an amount to be proven at trial.

         C.        Under Count III, for judgment against Defendants, in solido, for a sum equal to

  three times the amount of actual damages proven at trial, plus reasonable attorney fees and costs;

         D.        Under Count IV, for judgment against Defendants, in solido, for a sum equal to

  three times the amount of actual damages proven at trial, plus reasonable attorney fees and costs;

         E.        Under Count V, for judgment against the Defendants, in solido, for a sum equal to

  three times the amount of actual damages proven at trial plus reasonable attorney fees and costs.




                                                  31
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 32 of 33 PageID #: 131




         F.      Under Count VI, for judgment against Defendants, in solido, for compensatory

  damages in an amount to be proven at trial;

         G.      Under all Counts, for such other and further legal and equitable relief the Court

  determines to be just and appropriate.


                                                     Submitted by,

                                                     /s/ Lacey E. Rochester
                                                     Lacey E. Rochester (#34733)
                                                     BAKER, DONELSON, BEARMAN,
                                                     CALDWELL & BERKOWITZ, P.C.
                                                     201 St. Charles Ave, Suite 3600
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                                                     T: (504) 566-5200
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                                                     /s/ Kevin A. Stine *
                                                     Kevin A. Stine (Ga Bar No. 682588) (T.A)
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                                                     E: kstine@bakerdonelson.com

                                                     Counsel for Plaintiff




                                                32
Case 5:21-cv-00255-EEF-MLH Document 12 Filed 03/19/21 Page 33 of 33 PageID #: 132




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this the 19th day of March 2021, I served the forgoing

  Amended Complaint on Defendants at the addresses listed below by U.S. Mail.

         Digital Sign Solutions, LLC
         Through its Registered Agent, Arvin Waddles
         4600 Victory Drive
         Apartment #73
         Marshall, Texas 75672

         Arvin Waddles
         Through its Registered Agent, Arvin Waddles
         4600 Victory Drive
         Apartment #73
         Marshall, Texas 75672

                                            /s/ Lacey E. Rochester




                                              33
